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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: October 24, 2023                                       DC Docket #: 18-cv-11973
Docket #: 20-1666pr                                          DC Court: SDNY (NEW YORK
Short Title: Farhane v. United States of America             CITY)DC Docket #: 1:05-cr-673-
                                                             4
                                                             DC Court: SDNY (NEW YORK
                                                             CITY)
                                                             DC Judge: Preska



                            NOTICE OF DEFECTIVE FILING



On October 23, 2023, the amicus brief and notice of appearance as amicus counsel, on behalf of
the Immigration Defense Project, was submitted in the above referenced case. The document
does not comply with the FRAP or the Court's Local Rules for the following reason(s):

______ Failure to submit acknowledgment and notice of appearance (Local Rule 12.3)
______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
______ Missing motion information statement (T-1080 - Local Rule 27.1)
______ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
______ Insufficient number of copies (Local Rules: 21.1, 27.1, 30.1, 31.1)
______ Improper proof of service (FRAP 25)
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______ Failure to file appendix on CD-ROM (Local Rule 25.1, Local Rules 25.2)
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______ Defective cover (FRAP 32)
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      (Local Rule 32.1)
______ Incorrect font (FRAP 32)
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______ Oversized filing (FRAP 27 (motion), FRAP 32 (brief))
______ Missing Amicus Curiae filing or motion (Local Rule 29.1)
______ Untimely filing
_xx___ Incorrect Filing Event
_xx___ Other: (1) re-submit as a motion to file amicus curiae brief. (2) attach the correct form
for amicus counsel appearance.

       Please cure the defect(s) and resubmit the document, with the required copies if
necessary, no later than 10/26/2023. The resubmitted documents, if compliant with FRAP and
the Local Rules, will be deemed timely filed.

        Failure to cure the defect(s) by the date set forth above will result in the document being
stricken. An appellant's failure to cure a defective filing may result in the dismissal of the appeal.

Inquiries regarding this case may be directed to 212-857-8522.
